         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 1 of 43



                  IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_________________________________________
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            ) Consolidated Civil Action No.
      Plaintiff,                          ) 12-cv-11935-PBS
v.                                        )
                                          )
EVERLIGHT ELECTRONICS CO., LTD.,          )
ET AL.,                                   )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            ) Civil Action No. 12-cv-12326-PBS
      Plaintiff,                          )
v.                                        )
                                          )
EPISTAR CORPORATION, ET AL.,              )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            ) Civil Action No. 12-cv-12330-PBS
      Plaintiff,                          )
v.                                        )
                                          )
LITE-ON INC., ET AL.,                     )
      Defendants.                         )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            ) Civil Action No. 13-cv-11097-PBS
      Plaintiff,                          )
vs.                                       )
                                          )
AMAZON.COM, INC.,                         )
                                          )
      Defendant,                          )
_________________________________________ )
                                          )
TRUSTEES OF BOSTON UNIVERSITY,            ) Civil Action No. 13-cv-11575-PBS
      Plaintiff,                          )
v.                                        )
                                          )
APPLE, INC.                               )
      Defendant.                          )
                                          )
_________________________________________ )



EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 2 of 43



TRUSTEES OF BOSTON UNIVERSITY,             )     Civil Action No. 13-cv-10659-PBS
    Plaintiff,                             )
v.                                         )
                                           )
SAMSUNG ELECTRONICS CO., LTD.,             )
SAMSUNG ELECTRONICS AMERICA, INC., )
SAMSUNG LED CO., LTD.,                     )
SAMSUNG LED AMERICA, INC.,                 )
SAMSUNG ELECTRO-MECHANICS CO.,             )
LTD., and SAMSUNG ELECTRO-MECHANICS )
AMERICA, INC.,                             )
      Defendants.                          )
__________________________________________ )
                                           )
TRUSTEES OF BOSTON UNIVERSITY,             )     Civil Action No. 12-cv-11938-PBS
      Plaintiff,                           )
vs.                                        )
                                           )
SEOUL SEMICONDUCTOR CO., LTD.,             )
SEOUL SEMICONDUCTOR, INC., and             )
SEOUL OPTODEVICE CO., LTD.                 )
      Defendants.                          )
_________________________________________ )
                                           )
TRUSTEES OF BOSTON UNIVERSITY,             )     Civil Action No. 13-cv-11105-PBS
      Plaintiff,                           )
vs.                                        )
                                           )
ARROW ELECTRONICS, INC.,                   )
COMPONENTSMAX, INC.,                       )
NRC ELECTRONICS, INC.,                     )
NU HORIZONS ELECTRONICS CORP.,             )
      Defendants                           )
___________________________________________)




Stipulated Protective Order                                                  Page 2
EAST\58064255.1
          Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 3 of 43




                          GLOBAL STIPULATED PROTECTIVE ORDER
         Pursuant to the Motion for Entry of Stipulated Protective Order filed by Plaintiff
Trustees of Boston University (“Plaintiff” or “BU”), and Defendants 1, the Court hereby enters
this Protective Order (the “Order”) in order to facilitate the discovery process and to protect
confidential Material that may be produced or otherwise disclosed by the Parties or third parties
during the course of discovery in this action, pursuant to Rule 26(c) of the Federal Rules of Civil
Procedure.2

A.       Definitions

         1.       “Party” shall mean any party to the above-captioned actions as provided under

Local Rule 26.5(c)(5).

         2.       “Patents-in-Suit” shall mean U.S. Patent No. 5,686,738 and/or U.S. Patent No.

6,953,703.

         3.       “Material” shall mean all information, documents and things produced, served or

otherwise provided in any of the above-captioned actions by the Parties or by non-parties.

         4.       “Litigation” shall mean any of the above-captioned cases.

         5.       “CONFIDENTIAL” Material shall mean information, documents, and things the

Producing Party believes in good faith is not generally known to others, and which the Producing

Party (i) would not normally reveal to third parties except in confidence or has undertaken with

1
 “Defendants” refers to Epistar Corporation (“Epistar”); Everlight Electronics Co., Ltd. (“Everlight Taiwan”);
Everlight Americas, Inc. (“Everlight Americas”); Lite-On Inc. (“Lite-On”); Lite-On Service USA, Inc. (“Lite-On
Serv.”); Lite-On Trading USA, Inc. (“Lite-On Trading”); Lite-On Technology Corporation (“Lite-On Tech.”);
Samsung Electronics Company, Limited; Samsung Electronics America, Incorporated; Samsung LED Company,
Limited; Samsung Electro-Mechanics Company, Limited; Samsung Electro-Mechanics America, Incorporated;
Samsung LED America, Incorporated; Seoul Semiconductor Co, Ltd. (“SSC”); Seoul Semiconductor, Inc. (“SSI”);
Seoul Optodevice Co., Ltd. (“SOC”); Amazon.com, Inc., (“Amazon”); Apple Inc. (“Apple”); Arrow Electronics,
Inc. (“Arrow”); ComponentsMax, Inc. (“ComponentsMax”); NRC Electronics, Inc. (“NRC”); and NU Horizons
Electronics Corporation (“NU Horizons”).
2
  SOC filed a motion to dismiss alleging a lack of personal jurisdiction. Dkt. No. 36; see also Dkt. No. 42 (Boston
University’s opposition); Dkt. No. 47 (SOC’s reply). SOC’s motion to dismiss has been referred to Magistrate
Judge Boal. Dkt. No. 88. By submitting this Stipulated Protective Order, SOC does not waive its objection to
jurisdiction or otherwise agree to participate in discovery while its motion is pending.


Stipulated Protective Order                                                                                   Page 3
EAST\58064255.1
           Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 4 of 43



others to maintain in confidence, or (ii) believes in good faith is protected by a right to privacy

under federal or state law or any other applicable privilege or right related to confidentiality or

privacy.

          6.      “CONFIDENTIAL-OUTSIDE              COUNSEL       ONLY”      Material     shall   mean

information, documents, and things the Producing Party believes in good faith qualifies as

“CONFIDENTIAL” and additionally, has significant competitive value such that unrestricted

disclosure to others would create a substantial risk of serious injury to the Producing Party. The

designation is reserved for “CONFIDENTIAL” information that constitutes proprietary financial

or technical or commercially sensitive competitive information that the Producing Party

maintains as highly confidential or sensitive in its business. The Parties agree that the following

information, if non-public, shall be presumed to merit the “CONFIDENTIAL-OUTSIDE

COUNSEL ONLY” designation:              trade secrets, pricing information, financial data, sales

information, sales or marketing forecasts or plans, business plans, sales or marketing strategy,

product development information, engineering documents, testing documents, employee

information, and other non-public information of similar competitive and business sensitivity.

          7.      “Producing Party” shall mean the Party or non-party that produces Material in this

action.

          8.      “Receiving Party” shall mean a Party that receives Material from a Producing

Party.

          9.      “Designated    Material”   shall    refer   to   Material    that   is     designated

“CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” pursuant to this

Order.




Stipulated Protective Order                                                                        Page 4
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 5 of 43



        10.        “Counsel of Record” shall refer to (i) outside counsel who have filed an

appearance in this Litigation on behalf of one or more Parties; (ii) partners, associates and

employees of such counsel to whom it is reasonably necessary to disclose information for this

litigation, including supporting personnel employed by the attorneys, such as paralegals, legal

translators, legal secretaries, legal clerks and shorthand reporters; and (iii) independent legal

translators retained to translate in connection with this Litigation, or independent shorthand

reporters retained to record and transcribe testimony in connection with this Litigation.

        11.

Plaintiff’s Proposal                         Defendants’ Proposal
“Outside Consultant” shall refer to a person “Outside Consultant” shall refer to a person

with specialized knowledge or experience in a with specialized knowledge or experience in a

matter pertinent to the Litigation, who has been matter pertinent to the Litigation, who has been

retained by a Party or Counsel of Record to retained by a Party or Counsel of Record to

serve as an expert witness or as a consultant in serve as an expert witness or as a consultant in

this Litigation.                                   this Litigation, who currently or within the

                                                   last three years, is not an employee of or

                                                   consultant for a Party or of a competitor of

                                                   an opposing Party.



        12.        “Professional Vendors” shall refer to persons or entities that and have no

affiliation with the Parties other than providing litigation support services (e.g., court reporting,

photocopying; videotaping; translating; designing and preparing exhibits, graphics, or

demonstrations; organizing, storing, retrieving data in any form or medium; etc.), their

employees, and subcontractors. This definition includes any professional jury or trial consultant


Stipulated Protective Order                                                                   Page 5
EAST\58064255.1
          Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 6 of 43



retained in connection with this litigation. Professional Vendors do not include consultants who

fall within the definition of Outside Consultant.

B.       Scope

         13.       The protections conferred by this Order cover not only Designated Material (as

defined above), but also any information copied or extracted therefrom, as well as all copies,

excerpts, summaries, or compilations thereof. Nothing herein shall alter or change in any way

the discovery provisions of the Federal Rules of Civil Procedure or the Court’s deadlines

provided in any scheduling order. Identification of any individual pursuant to this Protective

Order does not make that individual available for deposition or any other form of discovery

outside of the restrictions and procedures of the Federal Rules of Civil Procedure, the Local

Rules for the United States District Court for the District of Massachusetts and/or any relevant

order issued by the Court.

C.       Access To Designated Material

         14.       CONFIDENTIAL Material: Subject to the restrictions under Paragraph 15 below

and unless otherwise ordered by the Court or permitted in writing by the Producing Party, a

Receiving         Party    may   disclose   any   information,   document     or   thing   designated

“CONFIDENTIAL” only to:

                      a.      not more than three (3) representatives of the Receiving Party who are

     officers or employees of the Receiving Party, who may be, but need not be, in-house counsel

     for the Receiving Party, as well as their immediate paralegals and staff, to whom disclosure is

     reasonably necessary for the management, supervision, or oversight of this Litigation,

     provided that: (a) each such person has agreed to be bound by the provisions of the Protective

     Order by signing a copy of Exhibit A; and (b) no unresolved objections to such disclosure

     exist after proper notice has been given to all Parties as set forth in Paragraph 20 below;

Stipulated Protective Order                                                                        Page 6
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 7 of 43



                   b.         persons who appear on the face of Designated Material as an author,

   addressee, or recipient thereof and continue to serve in the same capacity as the time the

   persons authored or received the Designated Material;

                   c.         Retained outside Counsel of Record to any Party of the Litigation and

   the employees of such outside Counsel of Record (or such counsel’s law firm) who work

   under the supervision of, support such counsel and assist such counsel in this Litigation and

   who are not members, employees, officers or directors of a Party to this Litigation;

                   d.         Outside Consultants of the Receiving Party to whom disclosure is

   reasonably necessary for this Litigation; and provided that: (a) such Outside Consultant has

   signed the “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A; and

   (b) no unresolved objections to such disclosure exist after proper notice has been given to all

   parties as set forth in Paragraph 20 below;

                   e.         Witnesses at deposition and/or trial, pursuant to the provisions of

   Paragraphs 23 and 24, below, provided that such witnesses may not retain copies of

   Designated Material unless permitted by other provisions of this Order or authorized by the

   Producing Party of the Designated Material;

                   f.         the Court, jury and court personnel;

                   g.         any designated arbitrator, mediator, or special master who is assigned

   to hear this matter (or any part thereof) and his or her staff as long as each individual has

   signed the “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A;

                   h.         Professional Vendors to which disclosure is reasonably necessary for

   this litigation and a representative of which has signed the “Agreement To Be Bound By

   Protective Order” attached hereto as Exhibit A;



Stipulated Protective Order                                                                   Page 7
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 8 of 43



                    i.        Mock jurors or focus group members engaged by a jury consultant who

   have signed the “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A

   or engaged by counsel in preparation for Trial, provided that

                         (1)      No such mock jurors or focus group members are officers,
                                  directors or employees of any of the Parties or any of their
                                  affiliates or related to any of those officers, directors or employees;
                                  and

                         (2)

Plaintiff’s Proposal                       Defendants’ Proposal
No such mock jurors or focus group members No such mock jurors or focus group members

shall retain any copies of any Designated shall receive or retain any copies of any

Material; and                                         Designated Material; and




                    j.        Any other person as to whom the Producing Party first agrees to in

   writing.

        15.       CONFIDENTIAL-OUTSIDE COUNSEL ONLY Material: Unless otherwise

ordered by the Court or permitted in writing by the Producing Party, a Receiving Party may

disclose any information, documents or things designated “CONFIDENTIAL-OUTSIDE

COUNSEL ONLY” Material only to the following persons and under the following conditions:

                    a.        persons who appear on the face of Designated Material as an author,

   addressee, or recipient thereof and continue to serve in the same capacity as the time the

   persons authored or received the Designated Material;

                    b.

Plaintiff’s Proposal                      Defendants’ Proposal
Retained outside Counsel of Record to any Retained outside Counsel of Record to any



Stipulated Protective Order                                                                       Page 8
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 9 of 43



party in the above-captioned cases and the party in the above-captioned cases, provided

employees of such outside Counsel of Record that such Counsel of Record is not involved

(or such counsel’s law firm) who work under in competitive decision-making, as defined

the supervision of, support such counsel and by U.S. Steel v. United States, 730 F.2d 1465,

assist such counsel in this Litigation, and who 1468 n.3 (Fed. Cir. 1984), on behalf of a

are not members, employees, officers or Party or a competitor of a Party, and the

directors of a Party to this Litigation;           employees of such outside Counsel of Record

                                                   (or such counsel’s law firm) who work under

                                                   the supervision of, support such counsel and

                                                   assist such counsel in this Litigation, and who

                                                   are not members, employees, officers or

                                                   directors of a Party to this Litigation.



                   c.         Outside Consultants of the Receiving Party to whom disclosure is

   reasonably necessary for this Litigation and provided that: (a) such Outside Consultant has

   signed the “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A; and

   (b) no unresolved objections to such disclosure exist after proper notice has been given to all

   parties as set forth in Paragraph 20 below;

Plaintiff’s Proposal                               Defendants’ Proposal
[Boston University opposes this provision]         and (c) such Outside Consultant is not involved

                                                   in competitive decision-making, as defined by

                                                   U.S. Steel v. United States, 730 F.2d 1465,

                                                   1468 n.3 (Fed. Cir. 1984), on behalf of a Party




Stipulated Protective Order                                                                   Page 9
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 10 of 43



                                                      or a competitor of a Party.



   Without the express prior written consent of the Defendant that produced the Designated

   Material, no expert or consultant retained by a Defendant in this matter shall have access to

   “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Discovery Material produced by another

   Defendant in this matter;

                   d.         Witnesses at deposition and/or trial, pursuant to the provisions of

   paragraphs 23 and 24, below, provided that such witnesses may not retain copies of

   Designated Material unless permitted by other provisions of this Order or authorized by the

   Producing Party of the Designated Material;

                   e.         the Court, jury and court personnel;

                   f.         any designated arbitrator, mediator, or master who is assigned to hear

   this matter (or any part thereof) and his or her staff, as long as each individual has signed the

   “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A;

                   g.         Professional Vendors to which disclosure is reasonably necessary for

   this litigation and a representative of which has signed the “Agreement To Be Bound By

   Protective Order” attached hereto as Exhibit A;

                   h.         Mock jurors or focus group members engaged by a jury consultant who

   has signed the “Agreement To Be Bound By Protective Order” attached hereto as Exhibit A or

   counsel in preparation for Trial, provided that

                        (1)       No such mock jurors or focus group members are officers,
                                  directors or employees of any of the Parties or any of their
                                  affiliates or related to any of those officers, directors or employees;
                                  and

                        (2)       No such person shall retain any copies of any Designated Material;
                                  and

Stipulated Protective Order                                                                      Page 10
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 11 of 43



                  i.        Any other person as to whom the Producing Party first agrees to in

writing.

        16.

                       a.

Plaintiff’s Proposal                            Defendants’ Proposal
Pursuant to the Court’s July 19, 2013 ruling on [Defendants oppose this provision.]

this issue,3 this Protective Order does not affect

the right of Plaintiff or Plaintiff’s counsel to

participate in any Inter Parties Review, Ex

Parte Review, reexamination, or opposition of

the patents-in-suit or of any other patent that

has a common priority claim with the patents-

in-suit, that claims priority to (directly or

indirectly) to the patents-in-suit, or that is

otherwise related to the patents-in-suit before

any foreign or domestic agency, including the

United States Patent and Trademark Office.




3
        Dkt. No. 110 in case nos. 12-cv-11935, 12-cv-1326, 12-cv-12330 at 5 (“Accordingly, the Court declines to
        order a patent prosecution bar.”).


Stipulated Protective Order                                                                              Page 11
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 12 of 43



                    b.

Plaintiff’s Proposal                                Defendants’ Proposal
[Boston University opposes this provision]          Plaintiff’s Retained outside Counsel of Record

                                                    and Outside Consultants may not advise any

                                                    clients    or     otherwise   participate    in     the

                                                    acquisition of patents involving GaN light-

                                                    emitting        diodes   or   GaN    laser        diode

                                                    semiconductor devices for the purpose of

                                                    asserting them against any of the Defendants

                                                    for two years after the conclusion of the

                                                    Litigation, including any appeals.



        17.       Each person to whom Designated Material may be disclosed, and who, pursuant

to Paragraphs 14 (d-e, g-i) and 15 (c-d, f-h) is required to sign the “Agreement To Be Bound By

Protective Order” attached hereto as Exhibit A, shall do so prior to the time such Designated

Material is disclosed to him or her. Counsel for a Party who makes any disclosure of Designated

Material shall retain each original executed certificate; and, upon written request of a Producing

Party, shall provide copies to Counsel of Record of such Producing Party at the termination of

this action.

        18.       At the request of the Producing Party, persons not permitted access to Designated

Material under the terms of this Protective Order shall not be present at depositions while the

Producing Party’s Designated Material is discussed or otherwise disclosed. Court proceedings,

including hearings, pre-trial, and trial proceedings, shall be conducted in a manner, subject to the

supervision of the Court, to protect Designated Material from disclosure to persons not


Stipulated Protective Order                                                                      Page 12
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 13 of 43



authorized to have access to such Material.         Any Party intending to disclose or discuss

Designated Material at any Court proceeding must give sufficient advance notice to the

Producing Party so as to allow the Producing Party reasonable time to assure the implementation

of the terms of this Protective Order.

D.      Notice of Disclosure

        19.       Notice. If a Receiving Party wishes to disclose a Producing Party’s Designated

Material to any person described in paragraphs 14(a), 14(d) or (15(c), such Receiving Party must

provide notice to counsel for the Producing Party, which notice shall include:

        (a) the individual’s name;

        (b) present employer and past employers in the last five years;

        (c) title;

        (d) business address;

        (e) the individual’s current curriculum vitae including, but not limited to, a list of any

        publications and patents (issued or pending);

        (f) any previous or current relationship (personal or professional) with any of the Parties

        or their affiliates;

        (g) a list of other cases in which the individual has testified (at trial or deposition) or

        worked as a special adviser to the Court within the last five years;

        (h)

Plaintiff’s Proposal                         Defendants’ Proposal
a list of all companies (including companies a list of all companies (including companies

that retained the individual through counsel or that retained the individual through counsel or

other agents) with which the individual has other agents) with which the individual has




Stipulated Protective Order                                                                 Page 13
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 14 of 43



consulted or by which the individual has been consulted or by which the individual has been

employed within the last five years unless employed within the last five years;

such disclosure would violate a privilege or

discovery exemption under the Federal

Rules of Civil Procedure or the Federal

Rules of Evidence;



        (i)

Plaintiff’s Proposal                          Defendants’ Proposal
an identification of any individual or entity an identification of any individual or entity

with or for whom the person is or has been with or for whom the person is or has been

employed or provided consulting services to employed or provided consulting services to

relating to the design, development, operation, relating to the design, development, operation,

or patenting of GaN light-emitting diodes or or patenting of GaN light-emitting diodes or

GaN laser diode semiconductor devices or GaN laser diode semiconductor devices or

relating to the acquisition of intellectual relating to the acquisition of intellectual

property assets relating to the same unless property assets relating to the same;

such disclosure would violate a privilege or

discovery exemption under the Federal

Rules of Civil Procedure or the Federal

Rules of Evidence;



         (j)

Plaintiff’s Proposal                            Defendants’ Proposal


Stipulated Protective Order                                                             Page 14
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 15 of 43



an identification of all pending patent            an   identification   of     all     pending    patent

applications on which the person is named as       applications on which the person is named as

an inventor, in which the person has any           an inventor, in which the person has any

ownership interest, or in which the person is      ownership interest, or as to which the person

advising on, consulting on, preparing,             has had or anticipates in the future any

prosecuting, drafting, editing, amending, or       involvement in advising on, consulting on,

otherwise affecting the scope of the claims;       preparing,    prosecuting,         drafting,   editing,

                                                   amending, or otherwise affecting the scope of

                                                   the claims;



         (k) a signed copy of the Agreement To Be Bound By Protective Order attached as

        Exhibit A.

The identification of an expert or consultant pursuant to this Order shall not be construed as the

identification of an expert trial witness under Federal Rule 26(a)(2), and shall not constitute a

waiver of attorney work-product protection or the attorney client privilege (subject to the

discovery available under Paragraphs 42 and 43).

Plaintiff’s Proposal                               Defendants’ Proposal
During the pendency of this action, including      During the pendency of this action, including

all appeals, a Party shall disclose if a person    all appeals, a Party seeking to disclose

who has signed Exhibit A to this Protective        Designated     Material       shall      immediately

Order has changed employers.                       provide written notice of any change with

                                                   respect to the Person’s involvement in the

                                                   design, development, operation or patenting




Stipulated Protective Order                                                                       Page 15
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 16 of 43



                                                    of GaN light-emitting diodes or GaN laser

                                                    diode    semiconductor       devices,   or     the

                                                    acquisition of intellectual property assets

                                                    relating to GaN light-emitting diodes or

                                                    GaN laser diode semiconductor devices.



        20.       Objections. The Producing Party shall have ten (10) days from receipt of the

notice specified in Paragraph 19 to object in writing to such disclosure for good cause. For

purposes of this section, “good cause” shall mean an factually supported belief that either (1) the

Person had a prior confidential relationship with an adverse Party and the adverse Party disclosed

confidential information to the Person that is relevant to the current litigation, (2) the Person is a

competitive decision-maker, as defined by U.S. Steel v. United States, 730 F.2d 1465, 1468 n.3

(Fed. Cir. 1984), on behalf of a Party, a competitor of a Party, or an entity that is involved in the

evaluation, enforcement, or acquisition of GaN light emitting diode or laser diode patents; or



Plaintiff’s Proposal                                Defendants’ Proposal
[Boston University opposes this provision]          (3) there is another objectively reasonable

                                                    concern that the Person will, advertently or

                                                    inadvertently, use or disclose Designated

                                                    Materials in a way or ways that are inconsistent

                                                    with the provisions contained in this Order.



Any such objection must set forth in detail the facts on which it is based. After the expiration of

the 10-day period, if no objection has been asserted, then Designated Material may be disclosed


Stipulated Protective Order                                                                   Page 16
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 17 of 43



to the Person pursuant to the terms of this Order. However, if the Producing Party objects within

the 10-day period, the Receiving Party may not disclose Designated Material to the challenged

individual absent resolution of the dispute or Court Order. In the event the Producing Party

makes a timely objection, the parties shall meet and confer to try to resolve the matter by

agreement.

Plaintiff’s Proposal                          Defendants’ Proposal
If the parties cannot reach an agreement, the If the parties cannot reach an agreement, the

Objecting Party may, within seven (7) days Objecting Party may, within fourteen (14)

following the parties’ impasse, file a motion days following the parties’ impasse, file a

for a protective order preventing disclosure of motion for a protective order preventing

Designated Material to the Outside Consultant disclosure of Designated Material to the

or for other appropriate relief.                   Outside Consultant or for other appropriate

                                                   relief.



If the Objecting Party fails to file a motion for protective order within the prescribed period, any

objection to the Person having access to Designated Material is waived, and Designated Material

may thereafter be disclosed to such individual (provided that he or she has signed the

“Agreement To Be Bound By Protective Order” attached hereto as Exhibit A). If the Objecting

Party files a timely motion for a protective order, Designated Material shall not be disclosed to

the challenged individual until a final disposition allowing such disclosure is made by this Court

or by the consent of the Objecting party, whichever occurs first.

Plaintiff’s Proposal                               Defendants’ Proposal
[Boston University opposes this provision]         An initial failure to object to a person under

                                                   this      paragraph   shall   not   preclude   the



Stipulated Protective Order                                                                   Page 17
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 18 of 43



                                                  nonobjecting Party from later objecting to

                                                  continued access by that person for good cause.

                                                  If an objection is made, the Parties shall meet

                                                  and confer via telephone or in person within

                                                  seven (7) days following the objection and

                                                  attempt in good faith to resolve the dispute

                                                  informally. If the dispute is not resolved, the

                                                  Party objecting to the disclosure will have

                                                  seven (7) days from the date of the meet and

                                                  confer to seek relief from the Court.        The

                                                  designated person may continue to have access

                                                  to Designated Material until the Court resolves

                                                  the matter.



E.      Use of Designated Material

        21.       Use of Designated Material by Receiving Party. Unless otherwise ordered by

the Court or agreed to in writing by the Producing Party, all Designated Material shall be used by

the Receiving Party only for purposes of the prosecution or the defense of the case in which it

was produced. Designated Material shall not be used by the Receiving Party for any other

purpose whatsoever, including without limitation any other litigation, patent prosecution or

acquisition, patent reexamination or reissue proceedings, or any other business, commercial,

competitive, personal or other purpose, and shall not be disclosed by the Receiving Party to

anyone other than those set forth in Paragraphs 14-15, unless and until the restrictions herein are

removed either by written agreement of counsel for the parties, or by Order of the Court. If a

Stipulated Protective Order                                                                 Page 18
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 19 of 43



Receiving Party desires to use Designated Material for any other purpose, it shall serve a written

request on the Producing Party specifically identifying the Designated Material at issue and the

proposed use. The Parties shall use their best efforts to resolve any such issue promptly and

informally. If agreement cannot be reached within 10 days of the request being served, the

Receiving Party may seek an order of the Court permitting the proposed use. The burden shall

be on the Receiving Party to show that the proposed use is necessary and not unduly prejudicial.

Plaintiff’s Proposal                              Defendants’ Proposal
[Boston University opposes this provision]        Information contained        or     reflected   in

                                                  Designated Materials shall not be disclosed in

                                                  conversations, presentations by parties or

                                                  counsel, in court or in other settings that might

                                                  reveal   Designated     Material,     except    in

                                                  accordance with the terms of this Order.



        22.       Use of Designated Material by Producing Party. Nothing in this Order shall

limit any Producing Party’s use of its own confidential information, nor shall it prevent the

Producing Party from disclosing its own confidential information, documents or things to any

person. Such disclosure shall not affect any designations made pursuant to the terms of this

Order, so long as the disclosure is made in a manner that is reasonably calculated to maintain the

confidentiality of the information.

        23.       Use of Designated Material with Witnesses.       Except as may be otherwise

ordered by the Court, any person of a Producing Party may be examined as a witness at

depositions and trial and may testify concerning all Designated Material of the Producing Party




Stipulated Protective Order                                                                  Page 19
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 20 of 43



which such person has prior knowledge. Without in any way limiting the generality of the

foregoing:

                   a.         A present director, officer, employee, designated Rule 30(6)(b) witness,

   and/or Outside Consultant of a Producing Party may be examined and may testify concerning

   all Designated Material of the Producing Party.

                   b.         A former director, officer, agent and/or employee of a Producing Party

   may be interviewed, examined and may testify concerning all Designated Material of which

   he or she has prior knowledge, including any Designated Material that refers to matters of

   which the witness has personal knowledge, which has been produced by that Party and which

   pertains to the period or periods of his or her employment; and

                   c.         Non-parties may be examined or testify concerning any document

   containing Designated Material of a Producing Party that appears on its face or from other

   documents or testimony to have been received from or communicated to the non-party in the

   ordinary course of its business.

        Any person other than (i) the witness, (ii) his or her attorney(s), or (iii) any person

qualified to receive Designated Material under this Order, shall be excluded from the portion of

the examination concerning such information, unless the Producing Party consents to persons

other than qualified recipients being present at the examination. If the witness is represented by

an attorney, who is not qualified under this Order to receive such information, then prior to the

examination, the attorney shall be requested to sign the Agreement to be Bound By The

Protective Order in the form of Exhibit A attached hereto. In the event that such attorney

declines to sign such an Agreement To Be Bound By The Protective Order, prior to the




Stipulated Protective Order                                                                    Page 20
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 21 of 43



examination, the Producing Party, through its Counsel of Record, may seek a protective order

from the Court prohibiting such attorney from accessing or disclosing such Designated Material.

        24.        A   witness,   who   previously   had   access   to   a    document   designated

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY,” but who is not under a present non-

disclosure agreement with the Producing Party that covers that document, may be shown the

document if a copy of this Protective Order is attached to any subpoena or notice or request

served on the witness for the deposition; and the witness is advised on the record of the existence

of the Protective Order and that the Protective Order requires the Parties to keep confidential any

questions,        testimony or documents     that are designated as          “CONFIDENTIAL” or

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY.” The witness may not copy, take notes on or

retain copies of any Designated Material used or reviewed at the deposition. The witness may

not take out of the deposition room any Exhibit that is marked “CONFIDENTIAL” or

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY.” The Producing Party of any Designated

Material used at the deposition may also require that the transcript and exhibits not be copied by

the witness or his counsel, that no notes may be made of the transcript or the exhibits, and that

the transcript and exhibits may only be reviewed by the witness in the offices of counsel

representing a Party in this Litigation (or another firm acting for one of the counsel representing

a Party in this Litigation and under the supervision of one of the lawyers who is bound by the

terms of this Order).

        25.        Trustees of Boston University v. Apple Inc., Civil Action No. 1-13-cv-11575

Provisions: For the Trustees of Boston University v. Apple Inc., Civil Action No. 1-13-cv-11575

case, the following additional provisions as set forth in Paragraph 25(a) – (c) apply:




Stipulated Protective Order                                                                 Page 21
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 22 of 43



                     a.       Secure Storage, No Export: Designated Material must be stored and

   maintained by a Receiving Party at a location in the United States and in a secure manner that

   ensures that access is limited to the persons authorized under this Order. Designated Material

   may not be exported outside the United States or released to any foreign national (even if

   within the United States). The foregoing provision shall not be deemed to apply to: (i) a

   foreign national within the United States employed by Retained Outside Counsel or, (ii) a

   Retained Outside Counsel traveling outside of the United States who needs to access

   Designated Material for that counsel’s own use in this litigation.

                     b.       CONFIDENTIAL MATERIAL: In addition to the provisions set forth

   in Paragraph 14, a Receiving Party may disclose any information, document, or thing

   designated as “CONFIDENTIAL” to Outside Consultants of the Receiving Party to whom

   disclosure is reasonably necessary for this Litigation provided that the Outside Consultant

   accesses the materials in the United States only, and does not transport them to or access them

   from any foreign jurisdiction.

                     c.       CONFIDENTIAL-OUTSIDE COUNSEL ONLY Material: In addition

   to the provisions set forth in Paragraph 15, a Receiving Party may disclose any information,

   documents, or things designated as “CONFIDENTIAL-OUTSIDE COUNSEL ONLY”

   Material to Outside Consultants of the Receiving Party to whom disclosure is reasonably

   necessary for this Litigation, provided that Outside Consultant accesses the materials in the

   United States only, and does not transport them to or access them from any foreign

   jurisdiction.

        26.        Cross-Production of Defendant Confidential Material.        No Defendant is

required to produce its Designated Material to any other Defendant or Defendants, but nothing in



Stipulated Protective Order                                                                Page 22
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 23 of 43



this Order shall preclude such production. Notwithstanding the provisions of this Protective

Order, Plaintiff shall not disclose one Defendant’s Designated Material to any other Defendant or

Defendants through Court filings, oral argument in Court, expert reports, deposition, discovery

requests, discovery responses, or any other means, without the express prior written consent of

the Defendant that produced the Designated Material.

F.       Procedure for Designating Materials

         27.      Subject to the limitations set forth in this Order, a Producing Party may designate

as “CONFIDENTIAL” information the Producing Party believes in good faith meets the

definition set forth in Paragraph 5 above; and a Producing Party may designate as

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY” information the Producing Party believes in

good faith meets the definition set forth in Paragraph 6 above.

         28.      Any Material (including physical objects) made available for initial inspection by

counsel for the Receiving Party prior to producing copies of selected items shall initially be

considered, as a whole, to constitute “CONFIDENTIAL-OUTSIDE COUNSEL ONLY”

information and shall be subject to this Order as if designated “CONFIDENTIAL-OUTSIDE

COUNSEL ONLY.”             Thereafter, the Producing Party shall have ten (10) days from the

inspection to review and designate the appropriate documents as “CONFIDENTIAL” or

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY” prior to furnishing copies to the Receiving

Party.

         29.      Except as otherwise provided in this Order or as otherwise stipulated or ordered,

Material that qualifies for protection under this Order must be designated in accordance with this

Section F before the material is disclosed or produced.

         30.      Designation in conformity with this Order requires:



Stipulated Protective Order                                                                   Page 23
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 24 of 43



                   a.         For information in documentary form (apart from transcripts of

   depositions or other pretrial or trial proceedings), the Producing Party shall affix the legend

   “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” on each page that

   contains Designated Material.

                   b.         Where electronic files and documents are produced in native electronic

   format, such electronic files and documents shall be designated for protection under this Order

   by appending to the file names or designators information indicating whether the file contains

   “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” material, or shall

   use any other reasonable method for so designating Materials produced in electronic format.

   When electronic files or documents are printed for use at deposition, in a court proceeding, or

   for provision in printed form to an expert or consultant pre-approved pursuant to paragraphs

   19-20, the party printing the electronic files or documents shall affix a legend to the printed

   document corresponding to the designation of the Designating Party and including the

   production number and designation associated with the native file.

                   c.         A Party may designate testimony or information disclosed at a

   deposition, including exhibits to the deposition that contain or discloses confidential

   information, by indicating on the record at the deposition the portions of the testimony and/or

   exhibits that contain “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL

   ONLY.” All deposition transcripts not marked “CONFIDENTIAL” or “CONFIDENTIAL-

   OUTSIDE COUNSEL ONLY” during the deposition will nonetheless be treated as

   “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” until thirty (30) days after receipt of the

   final transcript, in order to allow counsel to review the transcript and designate portions

   thereof in accordance with this Protective Order. Transcript pages containing Designated



Stipulated Protective Order                                                                  Page 24
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 25 of 43



   Material must be separately bound by the court reporter, who must affix to the top of each

   such page the legend “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL

   ONLY” as instructed by the Producing Party. In the event the deposition is videotaped, the

   original and all copies of the videotape shall be marked by the video technician to indicate

   that the contents of the videotape are subject to this Protective Order, substantially along the

   lines of “This videotape contains confidential testimony used in this case and is not to be

   viewed or the contents thereof to be displayed or revealed except pursuant to the terms of the

   operative Protective Order in this matter or pursuant to written stipulation of the parties.”

                   d.         For information produced in some form other than documentary, and

   for any other tangible items, the Producing Party shall affix in a prominent place on the

   exterior of the container or containers in which the information or thing is stored, the legend

   “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY.”

                   e.

Plaintiff’s Proposal                                Defendants’ Proposal
[Boston University opposes this provision]          This Order does not govern the production of

                                                    source code. If source code is to be produced

                                                    in this Litigation, the Parties will negotiate in

                                                    good    faith    provisions    concerning      the

                                                    production of source code and will submit to

                                                    the Court an Addendum to the Protective Order

                                                    concerning the production of source code.

                                                    Source code will not be produced in this

                                                    Litigation until the Proposed Addendum to the




Stipulated Protective Order                                                                   Page 25
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 26 of 43



                                                   Protective Order concerning the production of

                                                   source code is entered by the Court.



G.      No Waiver of Privilege

        31.       Pursuant to Fed. R. Civ. P. 26(b)(5)(D) and Fed. R. Evid. 502, inspection or

production of documents (including physical objects) shall not constitute a waiver of the

attorney-client privilege or work product immunity or any other applicable privilege or immunity

from discovery if, after the Producing Party becomes aware of any inadvertent or unintentional

disclosure, the Producing Party, within fifteen (15) days of becoming aware of the improper

designation, designates any such documents as within the attorney-client privilege or work

product immunity or any other applicable privilege or immunity, and requests in writing return

of such documents to the Producing Party with the factual basis for the assertion of privilege or

immunity. Upon request by the Producing Party, the Receiving Party shall immediately return

all copies of such inadvertently produced document(s); and shall not use any inadvertently

produced material or information for any purpose unless and until the asserted privileges or

immunities have been successfully challenged or withdrawn. Nothing herein shall prevent the

Receiving Party from challenging the propriety of the attorney-client privilege or work product

immunity or other applicable privilege or immunity designation by submitting a written

challenge to the Court, except that no such challenge may assert the inadvertent or unintentional

disclosure as a ground for requiring production.

H.      Inadvertent Failure To Designate

        32.       An inadvertent failure to designate qualified Material as “CONFIDENTIAL”, or

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY” does not, standing alone, waive the

Producing Party’s right to secure protection under this Order for such Material. Upon discovery

Stipulated Protective Order                                                               Page 26
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 27 of 43



of an inadvertent failure to designate, as soon as reasonably possible a Producing Party or

Producing Party may notify the Receiving Party in writing that the material is to be designated as

“CONFIDENTIAL” or             “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” along with the

factual basis for such designation(s). Upon receipt of such notice, the Receiving Party must

make reasonable efforts to assure that the material is treated in accordance with the terms of this

Order, subject to the right to challenge the propriety of such designation(s). The Producing Party

shall promptly provide substitute copies of documents bearing the confidentiality designation. A

Receiving Party shall not be in breach of this Order for any use of such Discovery Material

before the Receiving Party receives such notice that such Material is protected under one of the

categories of this Order. Once a Receiving Party has received notification of the correct

confidentiality designation for the Protected Material with the correct confidentiality designation,

the Receiving Party shall treat such Material at the appropriately designated level pursuant to the

terms of this Order.

I.      Sealed Filings

        33.        Absent written permission from the Producing Party or a court Order secured after

appropriate notice to all interested persons, a Receiving Party may not file or disclose in the

public record any Designated Material.             To the extent that it is necessary to file

“CONFIDENTIAL”, or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” information or any

document or pleading disclosing the contents thereof in connection with proceedings in this

Litigation, the Party wishing to submit such a filing, prior to or simultaneously with such filing,

shall on each occasion move, pursuant to Local Rule 7.2, for an order of impoundment.

        34.        When filings are made under seal, the Parties agree to file through the Court’s

Electronic        Case   Filing   Procedures   redacted   versions   of   such   filings   with   any

“CONFIDENTIAL”, or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” information

Stipulated Protective Order                                                                   Page 27
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 28 of 43



removed. The Parties also shall simultaneously serve by email a copy of any sealed filings in

advance of the Court’s ruling on the motion for an order of impoundment.

J.      Challenges to Confidentiality Designations

        35.       The Parties will use reasonable care when designating documents or information

as “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY.” Nothing in this

Order shall prevent a Receiving Party from contending that any or all documents or information

designated as “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” have

been improperly designated. If a Party believes that the Material bearing a designation is not in

fact the proper subject for such designation or should be reclassified or revealed to an individual

not otherwise authorized to have access to such Material under the terms of this Order, then such

Party shall provide to the Producing Party written notice of this disagreement with the

designation. The Parties shall first try to resolve such dispute in good faith on an informal basis.

        36.       A Party shall not be obligated to challenge the propriety of a “CONFIDENTIAL”

or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” designation at the time made, and the

failure to do so shall not preclude a subsequent challenge thereto. Such a challenge shall be

written, shall be served on counsel for the Producing Party and Producing Party, if separate, and

shall particularly identify the Designated Material that the Receiving Party contends should be

differently designated. The Parties shall use their best efforts to resolve promptly and informally

such disputes. If agreement cannot be reached within 10 days of notice being provided, the

Receiving Party may request that the Court cancel or modify the designation set by the

Producing Party.

Plaintiff’s Proposal                          Defendants’ Proposal
The burden shall be on the Producing Party to The burden shall be on the Receiving Party to




Stipulated Protective Order                                                                  Page 28
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 29 of 43



show that the designation is proper.                show that the designation is improper.




In any event, unless and until a Court ruling is obtained changing a designation, or the Parties

agree otherwise in writing, the material involved shall be treated according to its designation.

K.      Designated Material Subpoenaed or Ordered Produced In Other Litigation

        37.       If a Receiving Party is served with a subpoena or a court order that would compel

disclosure of any information, documents or things designated in this Litigation as

“CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY,” the Receiving Party

must so notify the Producing Party, in writing (by fax and email) promptly and in no event more

than ten (10) days after receiving such subpoena or order. Such notification must include a copy

of such subpoena or order. The Receiving Party also must promptly inform in writing the person

who caused the subpoena or order to issue that some or all the responsive material covered by

the subpoena or order is the subject of this Protective Order. In addition, the Receiving Party

must deliver a copy of this Protective Order promptly to the person who caused the subpoena or

order to issue. The purpose of imposing these duties is to alert the interested parties to the

existence of this Protective Order and to afford the Producing Party in this Litigation an

opportunity to try to protect its confidentiality interests in the court from which the subpoena or

order issued. The Producing Party shall bear the burdens and the expenses of seeking protection

in that court of its Designated Material. Nothing in these provisions should be construed as

authorizing or encouraging a Receiving Party in this Litigation to disobey a lawful directive from

another court.




Stipulated Protective Order                                                                  Page 29
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 30 of 43



L.      Unauthorized Disclosure Of Designated Material

        38.       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

Designated Material to any person or in any circumstance not authorized under this Order, the

Receiving Party must (a) within two days, notify in writing the Producing Party of the

unauthorized disclosures, (b) use its best efforts to retrieve all copies of the Designated Material

within seven (7) days, (c) inform, within seven (7) days, the person or persons to whom

unauthorized disclosures were made of all the terms of this Order, and (d) request such person or

persons to execute, within seven (7) days, the “Acknowledgment and Agreement to Be Bound”

that is attached hereto as Exhibit A and provide to the Producing Party, within ten (10) days after

the initial notification under Paragraph 38(a), all communications and executed undertaking

under Paragraphs 38(b), (c), and (d). Unauthorized or inadvertent disclosure does not change the

status of Designated Material or waive the right to hold the disclosed document or information as

protected.

M.      Non-Party Use of This Protective Order

        39.       A non-party producing Material voluntarily or pursuant to a subpoena or a court

order may designate such Material in the same manner and shall receive the same level of

protection under this Protective Order as any Party to this Litigation.

        40.       A non-party’s use of this Protective Order to protect its “CONFIDENTIAL” or

“CONFIDENTIAL-OUTSIDE COUNSEL ONLY” Materials, however, does not entitle that

non-party access to “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY”

Materials produced by any Party in this Litigation.

N.      Discovery from Outside Consultants

        41.       Outside Consultants, who serve as testifying experts, shall not be subject to

discovery of any draft report, notes, outlines, or similar materials prepared by or on behalf of the

Stipulated Protective Order                                                                  Page 30
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 31 of 43



testifying expert or communications with the counsel engaging them relating thereto, which

relate to an expert report submitted in this Litigation pursuant to Federal Rule of Civil Procedure

26(a)(2).

        42.       Discovery of materials provided to testifying experts shall be limited to those

materials, facts, consulting expert opinions, and other matters actually relied upon by the

testifying expert in forming his or her final report, trial or deposition testimony or any opinion in

this Litigation. No discovery can be taken from any Outside Consultant, who does not testify

except to the extent any Outside Consultant has provided information, opinions or other

materials to a testifying expert, who then relies upon such information, opinions or other

materials in forming his or her final opinion(s), report, or trial and/or deposition testimony in this

Litigation.

        43.       No conversations or communications between counsel and any Outside

Consultant will be subject to discovery unless the conversations or communications are relied

upon by a testifying expert in formulating opinions that are presented in reports or trial and/or

deposition testimony in this Litigation.

        44.       Testifying expert materials, communications, and other information exempt from

discovery under this Section N shall be treated as attorney-work product for the purposes of this

Litigation and Protective Order. Notwithstanding the foregoing, no claim of attorney-client

privilege or work product immunity may be asserted with respect to the discovery permitted

under Paragraphs 42 and 43.

O.      Use of Designated Material During Court Proceedings

        45.       If any Designated Material is used in any Court proceeding in this Litigation

(including, but not limited to, conferences, oral arguments, and hearings), the Designated

Material shall not lose its status as Designated Material through such use. The Parties shall take

Stipulated Protective Order                                                                   Page 31
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 32 of 43



all steps reasonably necessary to protect the confidentiality of the Designated Material during

any such use, including, but not limited to, requesting in camera proceedings. The terms of this

Protective Order do not preclude, limit, restrict, or otherwise apply to the use of documents at

trial. The Parties agree to meet and confer in good faith prior to trial to establish procedures for

the use of Designated Material at trial.

P.      Duration

        46.       Even after the termination of a Litigation, the confidentiality obligations imposed

by this Order shall remain in effect until a Producing Party agrees otherwise in writing or a court

order otherwise directs.

Q.      Final Disposition

        47.       Unless otherwise ordered or agreed in writing by the Producing Party, within

sixty (60) days following the first to occur of (i) the complete resolution of a Litigation through

entry of a final non-appealable judgment or order for which appeal has been exhausted, or (ii) the

complete settlement of all claims against all the Parties in a Litigation, upon written request, the

Receiving Party must submit a written confirmation of the return or destruction of all Designated

Material to the Producing Party (and, if not the same person or entity, to the Producing Party) by

the 60-day deadline. Notwithstanding this provision, Counsel of Record may retain an archival

copy of all pleadings, motion papers, deposition transcripts (including exhibits), transcripts of

other proceedings (including exhibits), expert reports (including exhibits), discovery requests and

responses (including exhibits), exhibits offered or introduced into evidence at trial, legal

memoranda, correspondence or attorney work product, even if such materials contain Designated

Material. Any such archival copies that contain or constitute Designated Material remain subject

to this Protective Order as set forth in Section O (Duration), above. As used in this Paragraph,



Stipulated Protective Order                                                                   Page 32
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 33 of 43



“Designated Material” includes all copies, abstracts, compilations, summaries or any other form

of reproducing or capturing any of the Designated Material.

R.       Miscellaneous

         48.      Any of the notice requirements herein may be waived, in whole or in part, but

only if such waiver is in writing signed by the Counsel of Record for the Party against whom

such waiver will be effective.

         49.      This Order is entered without prejudice to the right of any Party to apply to the

Court at any time for additional protection or to relax or rescind any or all restrictions of this

Order, when necessity requires. Nothing in this Order abridges the right of any person to seek to

assert other objections.       No Party waives any right it otherwise would have to object to

disclosing or producing any information, documents, or things on any ground not addressed in

this Protective Order. Similarly, no Party waives any right to object on any ground to the use in

evidence of any of the Material covered by this Protective Order.                The Court shall take

appropriate measures to protect Designated Material at trial and any hearing in a Litigation.

         50.      This Order shall not diminish any existing obligation or right with respect to

Designated Material, nor shall it prevent a disclosure to which the Producing Party consents in

writing before the disclosure takes place.

         51.      Nothing contained herein shall constitute a waiver of:

                    a.        any Party’s right to object to any discovery request on any ground;

                    b.        any Party’s right to seek an order compelling discovery with respect to

     any discovery request;

                    c.        any Party’s right in any proceeding in this lawsuit to object to the

                              admission of evidence on any ground; and/or



Stipulated Protective Order                                                                      Page 33
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 34 of 43



                    d.        any Party’s right to use and/or disclose its own documents and its own

   “CONFIDENTIAL” or “CONFIDENTIAL-OUTSIDE COUNSEL ONLY” Designated

   Material in its sole and complete discretion.

        52.       Compliance with this Protective Order in no way constitutes an admission by any

Party that any information designated pursuant to this Protective Order is or is not proprietary,

confidential, or a trade secret. The United States District Court for the District of Massachusetts

is responsible for the interpretation and enforcement of this Protective Order. All disputes

concerning Designated Material produced under the protection of this Protective Order shall be

resolved by the United States District Court for the District of Massachusetts. Every individual

who receives any Designated Material agrees to subject himself or herself to the jurisdiction of

this Court for the purpose of any proceedings related to performance under, compliance with, or

violation of this Order.

        53.       The Parties agree that documents or information created after October 17, 2012,

and subject to the attorney-client, joint-defense, or common-interest privilege or work product

immunity or protection need not be identified on a privilege log, as doing so would be unduly

burdensome.

        54.

Plaintiff’s Proposal                                  Defendants’ Proposal
The Parties agree that communications and             The Parties agree that        communications,

correspondence between counsel for                    correspondence, and documents prepared by

Defendants after October 17, 2012 need not be         counsel, including drafts, exchanged between

produced or identified on any privilege log.          counsel for Defendants after October 17, 2012

                                                      need not be produced or identified on any




Stipulated Protective Order                                                                   Page 34
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 35 of 43



                                                    privilege log.



        55.       The Court reserves the right, upon Motion or upon its own Motion, to amend or

modify this Protective Order for good cause shown. Each Party reserves the right to request that

the Court modify the terms of this Protective Order in the event that the Party believes that a

modification is necessary. If such an application is made, all signatories of copies of the

Certification, as well as persons described herein, shall remain bound by this Protective Order

unless and until it is modified by the Court.

        56.       The Parties agree that the terms of this Protective Order shall survive and remain

in effect after the Final Determination of the above-captioned matters. The Court shall retain

jurisdiction after Final Determination of these matters to hear and resolve any disputes arising

out of this Protective Order.

        57.       This Order shall be binding upon the Parties hereto, their attorneys, and their

successors, executors, personal representatives, administrators, heirs, legal representatives,

assigns, subsidiaries, divisions, employees, agents, retained consultants and experts, and any

persons or organizations over which they have direct control.



        DONE AND SO ORDERED THIS ___ DAY OF September, 2013:


                                           __________________________________________
                                           Honorable Patti B. Saris
                                           United States District Court of Massachusetts




Stipulated Protective Order                                                                  Page 35
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 36 of 43




                                                     EXHIBIT A


        I,                                         , acknowledge and declare that I have received a copy of

the Protective Order (“Order”) entered in Trustees of Boston University v. Everlight Electronics Co., Ltd. and

Everlight Americas, Inc., Civil Action No. 1-12-cv-11935, Trustees of Boston University v. Epistar Corporation,

LLC, Civil Action No. 1:12-cv-12326, Trustees of Boston University v. Lite-On Inc., Lite-On Service USA, Inc.,

Lite-On Trading USA, Inc., and Lite-On Technology Corporation, Civil Action No. 1:12-cv-12330, Trustees of

Boston University v. Seoul Semiconductor, LTD., Seoul Semiconductor, Inc. and Seoul Optodevice Co., LTD., Civil

Action No. 1-12-cv-11938, Trustees of Boston University v. Samsung Electronics Co., LTD., Samsung Electronics

America, Inc., Samsung LED Co., LTD., Samsung Electro-Mechanics Co., LTD, Samsung Electro-Mechanics

America, Inc., and Samsung LED America, Inc., Civil Action No. 1-13-cv-10659, Trustees of Boston University v.

Amazon.com, Inc., Civil Action No. 1:13-cv-11097, Trustees of Boston University v. Arrow Electronics,

ComponentsMAX, Inc., NRC Electronics, Inc., and Nu Horizons Electronics Corp., Civil Action No. 1:13-cv-11105

and Trustees of Boston University v. Apple Inc., Civil Action No. 1-13-cv-11575. Having read and understood the

terms of the Order, I agree to be bound by the terms of the Order and consent to the jurisdiction of said Court

for the purpose of any proceeding to enforce the terms of the Order.


        Name of individual:

        Present occupation/job description:




        Name of Company or Firm:

        Address:


        Dated:




Stipulated Protective Order                                                                            Page 36
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 37 of 43




DATED: September 6, 2013                    Respectfully submitted jointly,


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Stipulated Protective Order                                                   Page 37
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 38 of 43



                                           EVERLIGHT ELECTRONICS CO., LTD.

                                           AND

                                           EVERLIGHT AMERICAS, INC.

                                           EPISTAR CORPORATION

                                           LITE-ON, INC., LITE-ON SERVICE USA,
                                           INC.,
                                           LITE-ON TRADING USA, INC., AND LITE-
                                           ON
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Stipulated Protective Order                                                     Page 38
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 39 of 43




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                                         SEOUL SEMICONDUCTOR, INC., and

                                         SEOUL OPTODEVICE CO., LTD.


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Stipulated Protective Order                                                  Page 39
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 40 of 43




                                             SAMSUNG ELECTRONICS CO., LTD.,

                                             SAMSUNG ELECTRONICS AMERICA,
                                             INC.,
                                             SAMSUNG LED CO., LTD.,
                                             SAMSUNG ELECTRO-MECHANICS CO.,
                                             LTD.,
                                             SAMSUNG ELECTRO-MECHANICS
                                             AMERICA, INC., and
                                             SAMSUNG LED AMERICA, INC.

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Stipulated Protective Order                                                     Page 40
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 41 of 43



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                                         ARROW ELECTRONICS, INC.,
                                         COMPONENTSMAX, INC., and
                                         NRC ELECTRONICS, INC.

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Stipulated Protective Order                                                 Page 41
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 42 of 43




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Stipulated Protective Order                                                 Page 42
EAST\58064255.1
         Case 1:12-cv-11935-PBS Document 147 Filed 09/06/13 Page 43 of 43




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Stipulated Protective Order                                                  Page 43
EAST\58064255.1
